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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
EL PASO DIVISION

CELIA SANCHEZ and
OSCAR SALAS, statutory
death beneficiaries of ERIK
EMMANUEL SALAS-
SANCHEZ,

Plaintiffs,
v. EP-17-CV-133-PRM
MANDO KENNETH GOMEZ
and the CITY OF EL PASO,
TEXAS,

Defendants.

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THIRD AMENDED SCHEDULING ORDER

On this day, the Court considered the Parties’ “Agreed Motion for
Continuance” (ECF No. 242) [hereinafter “Motion”], filed on January 17,
2020, in the above-captioned cause. Additionally, the Court held a status
conference with respective counsel for all Parties on January 24, 2020. After
due consideration, the Court is of the opinion that it should grant the Motion
and issue an Amended Scheduling Order.

Any changes to the dates below will only be granted by leave of Court
and following the consideration of an appropriate motion. However, a change
in any deadline contained herein will not extend any other deadlines unless

those deadlines are specifically extended by order of the Court.
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IT IS ORDERED that the “Second Amended Scheduling Order,” as
issued on October 25, 2019 (ECF No. 218), is amended and the following

deadlines apply:

March 13, 2020 The parties shall conclude the dispute resolution process
they have selected. The parties shall have arranged for
either mediation services or a moderated settlement
conference through Antcliff Mediation, P.L.L.C., 221 N.
Kansas, Ste. 1201, El Paso, Texas 79901, or through any
other entity and/or individual mediator agreed to by the

parties.

March 20, 2020 The parties shall file a report indicating that they have
complied with the dispute resolution process requirement,
a notice of outcome, the method of ADR, and whether the

case has settled.

May 26, 2020, at 1:00 p.m. This case is set for Jury Selection and Trial
in Courtroom 621, on the Sixth Floor of the United States
Courthouse, 525 Magoffin Avenue, El Paso, Texas.

Notwithstanding the provisions of Local Rule CV-16(e),
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each party must serve and file the information provided for
in Local Rule CV-16(e) in accordance with the dates
contained in the Court’s “Trial Letter”, also entered on this

date.

If the Parties reach a settlement or otherwise resolve the case, the Parties
must promptly notify the Court.

Counsels are ADVISED that the Court does not anticipate granting
any further requests for continuances in this case. Unless presented with the
most extraordinary of circumstances, the Court expects the Parties to be
prepared for trial on May 26, 2020. Additionally, any and all pending non-
trial matters must be resolved by March 20, 2020. Furthermore, the Court
shall strictly enforce all deadlines included in the Courts Trial Letter.

SIGNED this < G day of February,

 
 

 

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PHILIP R. RTINEZ
UNITED STATES CT JUDGE
